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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Master Docket
IN RE:
1:15-mc-800 (JBS)
HURRICANE SANDY WYO
CARRIER FLOOD LITIGATION ° ORDER EXTENDING
TEMPORARY STAY

This matter comes before the Court upon the Court's own
initiative, and upon recommendation of the Court’s Hurricane
Sandy Litigation Committee.

It appearing that there is good cause to extend the
Temporary Stay, entered herein on May 13, 2015 for the purpose of
enabling the continuation of intensive negotiation and settlement
efforts in Sandy flood cases in this Court in which a Write-Your-
Own (“WYO”) insurance carrier under the National Flood Insurance
Program (“NFIP”) is a defendant; and

The Court noting that, as of July 2, 2015, a total of 22
NFIP Direct lawsuits and 322 WYO Flood lawsuits have been
reported settled, and that FEMA and its WYO carriers have the
goal of resolving the approximately 500 claims remaining in
litigation by September 30, 2015; and

It further appearing that enlarging the temporary stay of

such cases pending settlement efforts is warranted to conserve
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time and resources of the litigants, the Court, the arbitrators
and mediators; and

Consistent with Standing Order 14-2 (“In Re: Hurricane Sandy
Cases”) dated March 24, 2014; and for good cause;

IT IS on this 9 day of July, 2015 hereby ORDERED:

1. That further litigation of all WYO Carrier Cases is
hereby TEMPORARILY STAYED for an additional sixty (60) days
through September 12, 2015 and until further Order of this Court;

2. That all scheduled conferences, hearings, arbitrations,
mediations, and trials in WYO Carrier Cases are hereby cancelled
and postponed pending this Temporary Stay;

3. That any party seeking relief from this Temporary Stay
may apply to the assigned judge in the individual WYO Carrier
Case and show good cause; further, if settlement efforts are at
an impasse, either party should request that the stay be lifted
so that the case can proceed to trial or dispositive motion
practice;

4, That nothing herein precludes a party from requesting
or furnishing documents or other evidence in aid of settlement
negotiation and consummation;

5. That upon reaching a settlement, counsel shall report

same by filing a notice of settlement upon the docket of the
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individual case, requesting entry of an Order closing that docket
under L. Civ. R. 41.1(b); and

6. That the United States Attorney’s Office is requested to
continue to file a summary report of settlement efforts and results
for WYO Carrier Flood Cases every fourteen (14) days, the next

report being due July 17, 2015.

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(EROME B. SIMANDLE
Chief U.S. District Judge

